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          Oral Roberts' surprising NCAA
          Tournament run is shedding light on the
          school's 'homosexual activity' ban and
          conversion therapy practices
          Meredith Cash Mar 23, 2021, 1:49 PM




                 EXHIBIT T                                                                                                    1


1 of 11                                                                                                                           8/6/21, 3:11 AM
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          Founded by a Christian televangelist, Oral Roberts bans "homosexual activity" and forces conversion therapy — a
          deadly practice — on LGBTQ students. AP Photo/AJ Mast



                            Oral Roberts has punched a ticket to the men's Sweet Sixteen as
                            this year's apparent "Cinderella."


                            The Golden Eagles' success in the NCAA Tournament has
                            spotlighted the school's troubling history.


                            The school's controversial founder and homophobic record
                            complicates the team's historic run.


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                       Oral Roberts' shocking upsets of the No. 2-seeded Ohio State
                       Buckeyes and the No. 7-seeded Florida Gators in the opening two
                       rounds of this year's NCAA men's basketball tournament have given
                       the small school located in Tulsa, Oklahoma, a national platform and
                       its Hrst ticket to the Sweet Sixteen in nearly 50 years.


                       But along with all of the fanfare that comes with a "Cinderella" story,
                       the Golden Eagles' miraculous March Madness run has been
                       accompanied by some far less heartening public relations; the team's
                       success has shined a spotlight on Oral Roberts' troubling history and
                       long record of homophobia that stretches to the present day.


                       ORU's founder and namesake was a
                       controversial televangelist known to
                       many as a swindler and a homophobe
                       Oral Roberts University, a private evangelical university with just
                       4,000 students, was founded by its namesake in 1963. Roberts was a
                EXHIBIT T                                                                                                     2


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                       prominent — and controversial — televangelist known for generating
                       wild, fantastical stories to bolster his ministry's fundraising eXorts.
                       Most famously, Roberts alleged that God spoke with him and
                       promised to take the preacher's life if he did not collect $8 million in
                       donations from his followers within a single calendar year.


                       The Christian leader's extreme approach to fundraising garnered
                       signiHcant notoriety and caused Roberts to develop a reputation as a
                       swindler in the mainstream. But among his many acolytes, Roberts
                       was considered nothing less than a visionary.




                       The televangelist Oral Roberts. AP Photo/Yun Jai-Hyoung



                       Roberts was vehemently homophobic, and he was far from quiet
                       about his anti-gay sentiment. In his sermons, the preacher said
                       homosexuality "is not only wild, it is insane," and likened same-sex
                       attraction to perversion.


                EXHIBIT T                                                                                                     3


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                       Just six months after Roberts' son, Ronald "Ronnie" Roberts, came
                       out as gay, he killed himself. Roberts' grandson, Randy Roberts Potts,
                       wrote a letter to his late uncle after coming out himself. In the piece,
                       Potts directly blamed his grandfather and the community he helmed
                       for his Uncle Ronnie's death and the plight of so many other LGBTQ
                       evangelicals.


                       "Suicide among gay men and women in Evangelical communities is
                       still prevalent," Potts wrote. "Evangelicals may not be killing gays
                       outright — the police report suggests my uncle killed himself.
                       However, while the Evangelical community might not pull the trigger
                       when one of their gay members commits suicide, they provide the
                       ammunition."




                       Four thousand people attended a memorial service for Oral Roberts. AP Photo/David
                       Crenshaw



                       Potts was not welcomed to sit with his family at his grandfather's

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                       funeral in 2009. And he wrote that in front of the 4,000 people who
                       attended the service, his mother made a point to tell her son "that
                       Hell does exist" and that he's "going there."


                       Oral Roberts' legacy lives on through
                       his school, where 'homosexual
                       activity' is banned and conversion
                       therapy is mandatory
                       The university created in Oral Roberts' name was "founded to be and
                       is committed to being a Christian religious ministry" and, as such,
                       requires a "commitment to Jesus Christ of Nazareth as personal
                       Savior and Lord" from all of its students. Part of that commitment
                       involves signing the school's Honor Code Pledge, which prohibits
                       stealing, gossiping, cheating, cursing, drinking alcohol, using drugs
                       and tobacco, and "any illicit, unscriptural sexual acts" deemed
                       "immoral and illegal" by the institution.




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                       Roberts at the eventual site of Oral Roberts University. Francis Miller/The LIFE Picture
                       Collection via Getty Images



                       That latter category includes "any homosexual activity and sexual
                       intercourse with one who is not [a] spouse through traditional
                       marriage of one man and one woman." And the school mandates that
                       students who are found to be in violation of the policy or identify as
                       LGBTQ undergo conversion therapy, a pseudoscientiHc practice
                       outlawed in at least 20 states — but not Oklahoma — that the
                       American Psychological Association "strongly opposes."


                       The leading group of American scientists and psychologists insists
                       that conversion therapy represents "a signiHcant risk of harm by
                       subjecting individuals to forms of treatment which have not been
                       scientiHcally validated and by undermining self-esteem when sexual
                       orientation fails to change."


                       "No credible evidence exists that any mental health intervention can

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                       reliably and safely change sexual orientation," the APA said in a 2013
                       statement. "Nor, from a mental health perspective, does sexual
                       orientation need to be changed."




                       A march opposing conversion therapy. AP Photo/Jim Mone



                       In practice, conversion therapy often prompts or exacerbates
                       depression. And research from the Williams Institute at UCLA School
                       of Law found that recipients of such treatments were "almost twice as
                       likely to attempt suicide" or experience suicidal ideation compared
                       with their queer counterparts who were not subjected to the practice.


                       In other words, conversion therapy could be deadly, and it's
                       mandatory on Oral Roberts' campus.


                       Such was the case for Chance Bardsley, a Farmington, Arkansas,
                       native who was kicked out of his home for coming out as gay mere
                       months before heading to college, according to a 2018 article in The

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                       Arkansas Traveler. Then 18 years old, Bardsley told the University of
                       Arkansas student newspaper that he was set to attend Oral Roberts
                       University and that while he considered not matriculating because of
                       the school's anti-LGBTQ policies, he prioritized "food and shelter."




                       A statue on Oral Roberts University's campus. Education Images/Universal Images Group via
                       Getty Images



                       Bardsley said he begrudgingly signed the Honor Code Pledge when
                       he arrived on campus in Tulsa, and Oral Roberts staX members
                       quickly went to work attempting to convert him to heterosexuality.
                       After two years at the university featuring regular conversion-therapy
                       sessions, the aspiring missionary said, he realized "if I keep going
                       through this therapy, if I keep trying to change who I am, I'm going to
                       kill myself."


                       He transferred to the University of Arkansas, where he grew to
                       embrace his sexuality. Coincidentally, Oral Roberts will face his

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                       Arkansas Razorbacks in its next March Madness game.


                       Oral Roberts' surprising Sweet
                       Sixteen run will almost certainly have
                       real-world repercussions that harm
                       LGBTQ youth
                       As a result of reaching the third round of the NCAA men's
                       tournament, both the Razorbacks and the Golden Eagles have earned
                       roughly $5 million for their school's athletic programs, per The
                       Washington Post. The winner stands to rake in even more money.


                       Plus, schools whose teams make runs in March Madness, particularly
                       so-called Cinderellas like the Golden Eagles, typically see a
                       signiHcant boost in applications during the following year's
                       admissions cycle. And a February 2021 Gallup poll indicates that
                       approximately 16% of Generation Z — the age group currently
                       applying to college — identify as LGBT, with many more likely to
                       come out over time.




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                       Oral Roberts players celebrate their NCAA men's tournament upset. AP Photo/Robert
                       Franklin



                       It follows, then, that a portion of Oral Roberts' extra applications
                       stemming from the basketball team's surprising tournament success
                       will belong to queer kids. Like Bardsley, those queer kids would
                       almost certainly be subjected to conversion therapy at Oral Roberts.
                       And if they're subjected to conversion therapy, research suggests
                       they're far more likely to experience suicidal thoughts — and,
                       ultimately, more likely to die.


                       Oral Roberts University did not reply to multiple requests for
                       comment from Insider.


                       If you or someone you know is struggling with depression or has had
                       thoughts of harming themselves or taking their own life, get help. The
                       National Suicide Prevention Lifeline (1-800-273-8255) provides 24/7,
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            OUT NEWS

            Transgender student suspended from Christian college
            after top surgery
            “It's the best and worst day of my life. I'd do this surgery again if I could,” Yanna Awtrey said.




            Aug. 9, 2019, 4:46 PM EDT

            By Gwen Aviles

            A transgender male student was suspended from a Christian college because of his gender
            identity on the same day he got surgery to remove breast tissue.


            Yanna Awtrey, 21, was staying with family friends for the summer before his junior year at
            Welch College, a Free Will Baptists Church institution, in Gallatin, Tennessee, began.


            “I left a letter with the couple on Aug. 2, the day of the surgery, telling them that I’d be having
            surgery — though I didn’t specify what the surgery would be for,” Awtrey told NBC News.




                 EXHIBIT T                                                                                                  12


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                 Yann Awrey was suspended from Welch College because of his gender identity on the same day he got
            top surgery. Courtesy of Yann Awrey




            After struggling with gender dysphoria — a medical condition resulting from a conﬂict
            between one’s sex assigned at birth and one's gender identity — since early adolescence,
            getting top surgery, which involves removing breast tissue to ﬂatten the chest, was an
            emotional experience for Awtrey.


            “Everything went great,” Awtrey said. “I woke up and I cried from happiness to the point
            where my nurse told me to be quieter for the other patients’ sake.”


            Yet his joy was eclipsed when the woman he was staying with came to visit him at the hospital
            and realized the kind of surgery he received.


            “She was angry and told me she wouldn’t have me in the house anymore,” Awtrey said about
            the family friend.


            Awtrey said the woman called his parents, who are Free Will Baptists currently on a
            missionary trip in Bulgaria, and Welch College. A few hours later, he received an email from
            the school's Vice President for Student Services, Jon Forlines, instructing Awtrey he wasn't
            welcome back on campus.


            "Please be aware that because of the choices you have made we will not be able to allow you
            to come back to the dorm," the email read. "We’re praying for you that the love of Christ will
            speak to your every need in the coming days.”



            Related
             NBC OUT

             'We're a totally peaceful racist group,' says 'Straight Pride' organizer



            Forlines oﬀered Awtrey a one week’s stay at a local hotel as well as some money for food in
            the email.


            “I did not expect the email because I was physically vulnerable after the surgery and do not
            have an income nor can I work for a few months following the surgery,” Awtrey said.


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            Awtrey posted about the situation on Facebook and was able to ﬁnd a friend to stay with
            during the initial recovery process.


            “It's the best and worst day of my life. I'd do this surgery again if I could,” Awtrey wrote in the
            post. “The physical pain right now is nothing compared to witnessing a lack of empathy for
            our fellow man.”


            Awtrey said that the school tried to get him to sign a withdrawal form stating that leaving
            Welch College was his responsibility and decision but he refused to sign it, which led to a
            hearing with a school disciplinary committee on Aug. 7.


            During the hearing, Forlines stated that Awtrey was in violation of the student handbook,
            which forbids "any kind of sexual immorality, impurity, including the use of pornography"
            and "engaging in acts of sex immorality, including premarital and extramarital relations,
            sexual advances and sexual perversion in any form."


            Awtrey argued that his receiving top surgery was not an act of sexual perversion, according to
            a recording of the hearing obtained by NBC News, and was ultimately suspended from the
            school for two semesters.


            “They told me I could reapply to the school again, but I doubt I’d be accepted,” Awtrey, who
            was only one credit from earning a degree in Biology and 11 credits from earning a degree in
            Theological Studies, said.


            Welch College did not immediately respond to NBC News’ requests for comment.


            “Welch College didn’t have any legal language that did not allow trans people to attend, but
            everything LGBTQ-related at the school is kept hush-hush,” according to Awtrey.


            He plans to stay with another couple while he fully recovers from the surgery and then look
            for a job.


            “You can’t argue with the people who run Welch because they believe they’re doing the right
            thing,” Awtrey said. “They think their actions have no consequences and that it just works out
            for trans people, but when you look at the trans homeless and unemployed population and
            the amount of trans people that are murdered, that clearly isn’t true.”


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           RELIGION

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          March 27, 2018 · 7:26 AM ET
          Heard on Morning Edition


            TOM GJELTEN




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          Calvin College in Michigan is affiliated with the Christian Reformed Church, which holds that "homosexual practice ... is
          incompatible with obedience to the will of God as revealed in Scripture."
          Noah PreFontaine/Calvin College




          Conservative Christian colleges, once relatively insulated from the culture war, are

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          increasingly entangled in the same battles over LGBT rights and related social issues
          that have divided other institutions in America.

          Students and faculty at many religious institutions are asked to accept a "faith
          statement" outlining the school's views on such matters as evangelical doctrine,
          scriptural interpretation and human sexuality. Those statements often include a
          rejection of homosexual activity and a definition of marriage as the union of one man
          and one woman. Changing attitudes on sexual ethics and civil rights, however, are
          making it difficult for some schools, even conservative ones, to ensure broad
          compliance with their strict positions.

          "Millennials are looking at the issue of gay marriage, and more and more they are
          saying, 'OK, we know the Bible talks about this, but we just don't see this as an
          essential of the faith,' " says Brad Harper, a professor of theology and religious history
          at Multnomah University, an evangelical Christian institution in Portland, Ore.

          LGBT students at Christian schools are also increasingly likely to be open about their
          own sexual orientation or gender identity.


          ARTS & LIFE

          From Mormon Missionary To LGBTQ Advocate (And
          International Rock Star)

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          At Calvin College in Grand Rapids, Mich., junior Sam Koster, who identifies as queer,
          finds fellow students to be generally tolerant.

          "People I've met in the English Department," Koster says, "even in my dorms, they're
          like, 'Oh, you're queer? OK, cool. Do you want to go get pizza?' "

          Staff and faculty at these Christian schools have to balance a need to attend to their
          students' personal and spiritual needs with a commitment to their schools' faith

                EXHIBIT T                                                                                              18


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          statements or official positions on sexuality.

          "You've got those two values," says Mary Hulst, senior chaplain at Calvin. "We love our
          LGBT people. We love our church of Jesus Christ. We love Scripture. So those of us
          who do this work are right in the middle of that space. We are living in the tension."

          Calvin College is affiliated with the Christian Reformed Church, which holds that
          "homosexual practice ... is incompatible with obedience to the will of God as revealed
          in Scripture." Hulst leads Bible study groups with her LGBT students and discusses
          with them the passages that refer to same-sex relationships.

          "Those are the clobber passages," Koster says. "They're used to clobber queer kids back
          into being straight."

          Koster was troubled by those Bible verses at first but eventually became comfortable
          with a devout Christian identity and joined the Gay Christian Network.


                            THE TWO-WAY
                            In Guidance To Teachers, Church of England Targets Anti-LGBT Bullying




          "When I realized that my faith wasn't necessarily about the [Christian Reformed]
          Church, and it wasn't even necessarily about the Bible but about my relationship with
          God and that God is all-encompassing and loving, I felt very free," Koster says.

          Koster says Hulst helped guide that faith journey, but Hulst herself is still torn
          between her love for her LGBT students and her own understanding that the Bible
          does not really allow them to act on their sexual orientation.

          "It's a place where you need to be wise," Hulst says. "I tell them I want to honor
          Scripture, but I also honor my LGBT brothers and sisters."

          It doesn't always work out.

          "Someone from the LGBT community will say, 'If you will not honor the choices I

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          make with my life, if I choose a partner and get married, then you're not actually
          honoring me.' I can understand that," Hulst says, grimacing. "I can see how they might
          come to that conclusion."

          Legal entanglement

          In addition to changing social and cultural attitudes, conservative religious schools
          face a changing legal environment regarding LGBT issues. Title VII of the Civil Rights
          Act of 1964 prohibits employment discrimination on the basis of "race, color, religion,
          sex, or national origin."

          Though the language does not refer to sexual orientation or gender identity, some
          courts have interpreted Title VII as protecting LGBT individuals and the recent trend
          has been in a pro-LGBT direction.


          LAW

          Appeals Court Rules The Civil Rights Act Protects Gay
          Workers

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          Christian colleges and universities also have to consider Title IX of the Higher
          Education Amendments of 1972: "No person in the United States shall, on the basis of
          sex, be excluded from participation in, be denied the benefits of, or be subjected to
          discrimination under any education program or activity receiving Federal financial
          assistance."

          As with Title VII, the question of whether "sex" under Title IX should be interpreted as
          referring to sexual orientation is hotly debated.

          In April 2015, during a Supreme Court argument over the constitutional rights of
          LGBT individuals, Justice Samuel Alito noted that Bob Jones University in South
          Carolina had lost its tax-exempt status because of its prohibition on interracial dating

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          and marriage.

          "Would the same apply to a university or a college if it opposed same-sex marriage?"
          Alito asked then-U.S. Solicitor General Donald Verrilli Jr.

          "It's certainly going to be an issue," Verrilli answered. "I don't deny that."

          The exchange alarmed officials at conservative religious schools, for which the loss of
          tax-exempt status or federal funding would be devastating. Their anxiety deepened a
          year later, when the Obama administration notified colleges and universities that it
          interpreted Title IX as prohibiting discrimination "based on a student's gender
          identity, including discrimination based on a student's transgender status." Christian
          schools saw that letter as threatening a loss of federal funding if they refused to
          accommodate students who identify as transgender and want to be housed with other
          students who share their gender identity.


                            THE TWO-WAY
                            Trump Administration Rescinds Obama Rule On Transgender Students' Bathroom Use




          Upon taking office, the Trump administration rescinded the Obama directive, but
          some leaders at Christian schools still fear the cultural and legal trends are in favor of
          expanded LGBT rights on their campuses, which could mean their policies on sexual
          behavior could face serious challenges.

          Educational institutions can currently apply for an exemption from the
          nondiscrimination provisions of Title VII by demonstrating that those provisions
          contradict their religious beliefs, but opinions vary on whether those exemptions will
          protect Christian colleges that seek to maintain strict student and employee policies
          relating to sexual orientation.

          "Religious exemptions are exemptions because they are for small groups of people,
          and it doesn't necessarily undermine the full purpose of the law to have them," says
          Shapri LoMaglio, vice president for government affairs at the Council for Christian

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          Colleges and Universities. "I think case law is upholding the idea that that exemption
          is the right thing in order to be faithful to the Constitution."

          Other Christian college leaders, however, fear that the application of civil rights law to
          LGBT individuals could eventually jeopardize religious exemptions.

          "Four years down the line, eight years down the line, depending on the makeup of the
          Supreme Court, depending on who is president, I can see the gay/transgender issue
          being pushed in a way that would seek to make Christian colleges either surrender
          their federal funding or change their position and conform with the wider consensus,"
          says Carl Trueman, a professor of church history at Westminster Theological Seminary
          in Pennsylvania.

          Preparing for revoked funding

          In a recent article in the journal First Things, titled "Preparing for Winter," Trueman
          argued that conservative Christian schools need to begin planning for a "worst-case
          scenario, where not only federal money but also tax-exempt status is revoked."

          The combination of changing social attitudes and more complex legal issues were
          major points of discussion when the CCCU assembled representatives of more than
          130 of its member institutions in Dallas in late January. College chaplains, student
          counselors and classroom professors reviewed how they were responding to LGBT
          students, while administrators and financial officers considered whether they need to
          prepare for more government scrutiny of their positions and policies on sexual
          orientation and activity.

          One off-the-record session titled "Is Government Funding Replaceable?" was packed
          solid.

          "The fear is so large in many institutions because 40 or 50 or maybe even 60 percent
          of their budgets are really coming from the federal government," says Dale Kemp, the
          chief financial officer at Wheaton College in Illinois and the speaker at the CCCU
          session. "To think they could survive without that [funding] would be catastrophic."


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          NATIONAL

          College Campus Not Always Safe For Gay Students

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          Brad Harper of Multnomah University, which affirms that "sexual relationships are
          designed by God to be expressed solely within a marriage between a man and a
          woman," says he has seen growing anxiety about the future of federal aid at like-
          minded schools in recent years.

          "Every single Christian institution is wondering about that, and thinking, 'What
          happens if we lose government funding?' " he says. "Everybody has done the math
          about how much money you would have to raise if you lose government funding. You
          can't do it."

          Just as vexing are the cultural questions, especially among the staff and faculty who
          work with LGBT students on a daily basis. All colleges and universities receiving
          federal aid are required to have a Title IX coordinator responsible for working with
          students who feel they have been subject to discrimination because of their sex.
          Whether gay or transgender students are entitled to Title IX protection is unresolved,
          so Title IX coordinators find themselves having to judge on their own how to respond
          to those students who seek their help.

          "Sex has to do with identity and your gender and with who you are," says Christine
          Guzman, the Title IX coordinator at Azusa Pacific University in California, "so if
          there's a student who is feeling discriminated against because of their gender, then,
          yes, absolutely, I'm going to apply that law."

          So far, at least, Guzman is attentive to gay and transgender students despite her
          school's official belief that human beings are created "as gendered beings" and that
          heterosexuality is "God's design."

          At Calvin College, Hulst says the struggle to find an appropriate response to her LGBT
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           students is among the most difficult challenges she has faced as a college chaplain.

           "The suicidality of this particular population is much higher," she notes. "The chances
           that they will leave the church are much higher. These [realities] weigh very heavily on
           me."

            sexual orientation     students     lgbt    gender identity   christian




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           https://tulsaworld.com/news/local/education/oklahoma-student-speaks-out-about-being-expelled-from-
           christian-college-after-same-sex-wedding/article_a5743703-4d8c-59ac-87bc-3b18742e89f2.html


                   Oklahoma student speaks out about being expelled from
                         Christian college after same-sex wedding
                                 A Christian school tossed her for her sexual orientation.

                                                  By DYLAN GOFORTH World Staff Writer
                                                             Jul 16, 2014




             R         elated story: Opposition strong to gay marriage in Oklahoma,
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             Christian Minard and her longtime girlfriend, Kadyn Parks, were driving through
             New Mexico in March, exploring some of the state’s scenery when they settled on a
             courthouse in Albuquerque for their marriage.

             Minard, 22, a student at Southwestern Christian University in Bethany, said she and
             Parks had dated for more than three years before they decided to wed. Unable to get
             married in Oklahoma because of the state’s same-sex marriage ban, they had settled
             on New Mexico.

             Four months later, the couple found themselves thrust into the same-sex marriage
             debate raging in Oklahoma and across the nation.

             Minard said she and Parks had a small ceremony celebrating their marriage in June
             for their friends and family. Following that, they took off for a honeymoon in Las
             Vegas.

             When they returned, Minard, who was one semester away from graduation,
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             discovered her parents had received a letter from SCU addressed to her, telling her
             she was no longer welcome at the school.

             Lifestyle covenant
             Minard came to SCU from Redlands Community College in El Reno after a friend
             convinced her to join her on the school’s basketball team.

             SCU is affiliated with the International Pentecostal Holiness Church. Minard, who
             grew up in a Lutheran church, was faced with a tough decision. To attend the school,
             she had to sign the university’s “Lifestyle Covenant,” a document that forbids
             “homosexual behavior,” as well as tobacco, alcohol and drug use, profanity, sexual
             misconduct, pornography and “any other violation deemed inappropriate by SCU.”

             “Basketball is something I love,” Minard said. “When they offered me a scholarship,
             it was a tough decision, because they were going to pay for my school. It would have
             been tough to say no to that. I struggled with what to do, and in the end the desire to
             play basketball again was stronger.”

             The university, bound by the Family Educational Rights and Privacy Act, can’t speak
             directly about Minard’s case, but Connie Sjoberg, the school’s provost, issued a brief
             statement.

             “Making the choice to attend SCU means that students have a responsibility to our
             guiding principles and choose to abide by our SCU Lifestyle Covenant,” said Sjoberg,
             a former associate professor of psychology at Oral Roberts University. “The core
             principals of the SCU Lifestyle Covenant include: spiritual, intellectual, communal,
             physical, and behavioral.”

             Separate lives
             SCU is a private institution, and therefore has the right to bar a student from
             attending for whatever reason it sees fit, a fact Minard accepts.

             What bothers her, she said, is the sudden nature of the dismissal over the “open
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             secret” of her sexual orientation and the “uneven” nature of the enforcement of the
             school’s rules.

             “There have been pictures of my wife and I together on Facebook forever. People
             were aware of my sexual orientation,” Minard said. “There have been other girls on
             the basketball team that are lesbians. Our coach would even acknowledge when
             their girlfriends were in the stands.

             “I know (the school) didn’t want my relationship in their face, so I kept my school
             life my school life and my home life my home life. But as soon as one picture of our
             vow-exchanging ceremony was posted, that was apparently too much.”

             She believes it was the wedding picture that led to her expulsion, which troubles her.
             The lifestyle covenant she signed also forbids alcohol and tobacco use, but she said
             pictures of students drinking and smoking are routinely posted on Facebook with no
             repercussions.

             Minard said she’s not fighting to regain admission to the school. Although she was
             one semester shy of graduation, a number of classes she took at SCU were based on
             required religious studies, and they likely won’t transfer to a public institution, she
             said.

             She believes she will need two or more semesters to graduate at another university.

             “What I’ve found out this week is that by telling my story, I’ve been able to help
             other people,” she said. “I’ve had so many people message me and say, ‘I go to a
             small Christian college, and I’m gay, too.’ They say they never realized that there
             were so many people in the same situation they are in.

             “I believe in God. I’ve always had a very strong faith and I still do. But being gay in a
             Christian college makes you feel unwelcome and unwanted.

             “It’s been incredible to hear from all these people who have said my story has helped
             them in some way,” Minard said.
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